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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                       2121   jy
                                      AUSTIN DIVISION                                        25   A P41i).
                                                                                CL

 JEROME CORSI AND LARRY                        §
 KLAYMAN                                       §
              PLAINTIFFS,                      §
                                               §
 V.                                            §    CAUSE NO. 1 :20-CV-298-LY
                                               §
 INFOWARS, LLC, FREE SPEECH                    §
 SYSTEMS, LLC, ALEX E. JONES,                  §
 DAVID JONES, OWEN SHROYER,                    §
 AND ROGER STONE,                              §
               DEFENDANTS.                     §

                                     FINAL JUDGMENT

       Before the court is the above-styled and numbered cause. On this date, the court rendered

an order granting Defendants Infowars, LLC, Free Speech Systems, LLC, Alex E. Jones, David

Jones, Owen Shroyer, and Roger Stone's motions to dismiss and dismissing Plaintiffs Jerome

Corsi and Larry Klayman' s claims with prejudice. As nothing remains to resolve, the court renders

the following Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that Infowars, LLC, Free Speech Systems, LLC, Alex E. Jones, David

Jones, Owen Shroyer, and Roger Stone are awarded costs of court.

       IT IS FURTHER ORDERED that the case is hereby CLOSED.

       SIGNED this                day of June, 2021.




                                             UNITED STAT
